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                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MARYLAND
                                          BALTIMORE DIVISION

                                   Case No.: 24−12308 − NVA            Chapter: 13

   Lillian A. Condiff

                                                     Dated: 5/22/24


Dear Sir/Madam:

   Proof of Claim No.5 filed on May 21, 2024 has been entered in Case No. 24−12308 , but appears to be defective.
A review of the proof of claim indicates the following:

          Duplicate of claim number
          Amount entered in ECF has been updated to reflect the amount stated on pdf of proof of claim
          Proof of claim filed in incorrect case has been docketed in the correct case
          Missing signature of filing party
          Official Bankruptcy Form B 410 was not filed
          Other −

    Please take the appropriate action to correct the referenced proof of claim within ten (10) days of the date of this
notification.

                                                             Sincerely,

                                                             Mark A. Neal, Clerk of Court
                                                             by Deputy Clerk, Shannon McKenna 301−344−3390
